               Case 19-11938-LSS       Doc 399    Filed 04/29/21   Page 1 of 1




                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

 In re:                                          Chapter 7

 UBIOME, INC.,                                   Case No. 19-11938 (LSS)
                         Debtor.


                    ORDER SCHEDULING OMNIBUS HEARING DATE


                 IT IS HEREBY ORDERED, that the following omnibus hearing date has been

scheduled in the above-captioned matter:

          DATE                      TIME

          May 27, 2021               11:00 a.m. (Eastern Time) (Omnibus Hearing)




      Dated: April 29th, 2021                    LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE
